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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

Troy Public Schools,
                                           Case No: 2:20-cv-10397-DPH-EAS
                   Plaintiff,              Hon. Denise Page Hood
                                           Magistrate Judge Elizabeth A. Stafford
v.

K.F., et al.,

                   Defendants.

                                                                                    /


       ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
     RECOMMENDATION [#28] AND DIRECTING WITHDRAWAL OF
         DEFENDANTS’ MOTION FOR ATTORNEY FEES [#17]

       The Court has been advised that the parties have resolved Defendants’ Motion

for Attorney Fees [ECF No. 17] and notified that the Magistrate Judge has prepared

a Report and Recommendation regarding the parties’ stipulation to withdraw from

the Court’s docket the Motion for Attorney Fees [ECF No. 28].

       The Court has had an opportunity to review this matter and finds that the

Magistrate Judge reached the correct conclusions for the proper reasons. Finding no

error in the Magistrate Judge’s Report and Recommendation, the Court adopts the

Report and Recommendation in its entirety.
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      Accordingly, for the reasons stated above,

      IT IS ORDERED that the Report and Recommendation [ECF No. 28, filed

June 21, 2022] is ADOPTED as this Court’s findings of fact and conclusions of law.

      IT IS FURTHER ORDERED that Defendant’s Motion for Attorney Fees

[ECF No. 17, filed February 11, 2022] be withdrawn from the Court’ docket.

      This matter is now closed.


Dated: June 24, 2022                        s/Denise Page Hood
                                            DENISE PAGE HOOD
                                            United States District Judge




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